                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

JOHN RUFFINO and MARTHA )
RUFFINO, Husband and Wife,            )
                                      )
      Plaintiffs,                     )
                                      )     CASE No. 3:17-cv-00725
v.                                    )     Judge William L. Campbell, Jr.
                                      )     Magistrate Judge Chip Frensley
Dr. CLARK ARCHER and HCA              )
HEALTH SERVICES OF TENNESSEE, )             JURY DEMAND
INC. d/b/a STONECREST MEDICAL         )
CENTER                                )
                                      )
      Defendants.                     )
______________________________________________________________________________

 DEFENDANT DR. CLARK ARCHER'S MEMORANDUM IN SUPPORT OF MOTION
               TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
______________________________________________________________________________

         COMES NOW Defendant DR. CLARK ARCHER ("Dr. Archer"), by and through

counsel, files this Memorandum in Support of the Motion to Dismiss Plaintiffs' Amended

Complaint asserting that Plaintiffs' failure to attach a certificate of good faith to their Amended

Complaint requires the Court dismiss Plaintiffs’ Amended Complaint with prejudice for failure

to state a claim upon which relief may be granted.

                                I. STATEMENT OF THE CASE

         Plaintiffs filed their original complaint on April 20, 2017 ("Original Complaint"). (Doc.

1). Attached to the Original Complaint as Exhibit 2 was a Certificate of Good Faith signed by

Plaintiffs' counsel. (Doc. 1, Exh. 2). This exhibit certified that Plaintiffs' counsel had consulted

with one (1) or more experts who provided a signed written statement confirming that, upon

information and belief, the expert was competent under Tenn. Code Ann. § 29-26-115 to express

an opinion in the lawsuit, and that based on the medical records for the Plaintiff, there was a

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good faith basis to maintain the action consistent with the requirements of Tenn. Code Ann. §

29-26-115. (Doc. 1, Exh. 2). In the Original Complaint, in addition to the pled facts, Plaintiffs

assert the following theories of liability against Dr. Archer:

               95. Dr. Archer owed Mr. Ruffino a duty to provide appropriate
               care and treatment, including during the time in question.
               96. The ways in which Dr. Archer failed to comply with the
               applicable standard of recognized acceptable professional practice
               ("standard of care") include, but are not limited to:
                   a. Not providing proper care and treatment to Mr. Ruffino
                   during his February 17, 2016 ER presentation;
                   b. Not timely ordering a neurology consult for Mr. Ruffino
                   during his February 17, 2016 ER presentation;
                   c. Not timely ordering an MRI of the brain for Mr. Ruffino
                   during his February 17, 2016 ER presentation;
                   d. Not timely ordering a CTA for Mr. Ruffino during his
                   February 17, 2016 ER presentation;
                   e. Not timely ordering the administration of tPA for Mr.
                   Ruffino for his thrombotic stroke on February 17, 2016;
                   f. Not timely arranging for a thrombectomy to be performed on
                   Mr. Ruffino for his thrombotic stroke on February 17, 2016;
                   g. Not following StoneCrest's written policies and procedures
                   that existed on February 17, 2016 as applied to the workup,
                   diagnosis, and treatment of ER patients with a suspected
                   stroke;
                   h. Not timely diagnosing Mr. Ruffino with a thrombotic stroke
                   on February 17, 2016; and,
                   i. Not timely arranging for treatment for Mr. Ruffino's
                   thrombotic stroke on February 17, 2016.

(Doc. 1, ¶¶ 95-96). A motion to dismiss for failure to state a claim premised upon deficiencies

associated with mailing the notice of intent letters was filed on Dr. Archer's behalf, to which

Plaintiffs responded, and additional related motions were filed. (see Docs. 9, 12, 17, 19, 21). Dr.

Archer hereby adopts and incorporates the arguments and authorities set out in support of its

Motion to Dismiss the original Complaint.

       On January 3, 2018, after the close of written discovery, completion of fact witness

depositions, and while a motion for summary judgment was pending, Plaintiffs filed their Motion




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for Leave to File an Amended Complaint. (See Docs. 37, 38, 50). The Court granted the

Plaintiffs’ Motion to File an Amended Complaint on March 2, 2018. (Doc. 60). As a result,

Plaintiffs' Amended Complaint was filed. (Doc. 61).

          In addition to alleging a completely new set of facts,1 Plaintiffs' Amended Complaint

alleges the following claims of liability against Dr. Archer:

                   60. The ways in which Dr. Archer failed to comply with the
                   applicable standard of recognized acceptable professional practice
                   (“standard of care”) include, but are not limited to:
                       a. Not providing proper care and treatment to Mr. Ruffino
                       during his February 17, 2016 ER presentation;
                       b. Not timely ordering the administration of tPA for Mr.
                       Ruffino for his thrombotic stroke on February 17, 2016;
                       c. Not timely arranging for a transfer to a comprehensive stroke
                       center, including so that a endovascular thrombectomy could
                       be performed on Mr. Ruffino for his thrombotic stroke on
                       February 17, 2016;
                       d. Failing to communicate significant information about the
                       presentation and progression of Mr. Ruffino’s neurological
                       condition to the consulting neurologist, Dr. Chitturi.
                       e. Not following StoneCrest’s written policies and procedures
                       that existed on February 17, 2016 as applied to the workup,
                       diagnosis, and treatment of ER patients with a suspected
                       stroke;
                       f. Not timely diagnosing Mr. Ruffino with a thrombotic stroke
                       on February 17, 2016; and,
                       g. Not timely arranging for treatment for Mr. Ruffino’s
                       thrombotic stroke on February 17, 2016.
                   61. When Dr. Archer identified Mr. Ruffino’s new neurological
                   deficits at or soon after 1220, and knew by 1300 that these
                   neurological deficits were not present from 1000-1200 and the
                   patient was last seen neurologically normal as recently as 1200, it
                   was within the window of time at 1220-1300 for treatment for the
                   stroke including IV tPA and endovascular thrombectomy to have
                   likely provided Mr. Ruffino with a better outcome than he received
                   without that treatment being provided.
                   62. Such treatment would have improved the blood flow through
                   the vessel that was experiencing a decreased amount of blood flow
                   and thus causing the stroke. The treatment that could have been
                   provided by Dr. Archer and/or under his direction and/or


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        See Doc. 61, ¶¶ 18 – 56.


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                   management was to administer IV tPA and to arrange for transfer
                   to a comprehensive stroke center.
                   63. Had Dr. Archer initiated administration of IV tPA and arranged
                   for transfer to a comprehensive stroke center for appropriate
                   treatment, including endovascular thrombectomy, within at least 6-
                   8 hours of Dr. Archer first seeing the patient at approximately
                   1220, Mr. Ruffino would have had a better outcome from his
                   stroke. That improved blood flow via such treatment being
                   provided within 6-8 hours of 1200 would have limited or prevented
                   the permanent brain injury that occurred as a result of the lack of
                   such treatment causing that decreased blood flow through that
                   vessel of the brain – thus providing a better outcome for the
                   patient.
                   64. In addition, even if there were new stroke symptoms present at
                   approximately 0800-0830 on February 17, 2016 that anyone
                   thought were persistent and continuous through when Dr. Archer
                   first saw the patient and recognized neurological deficits by 1220-
                   1300, it was still within 6-8 hours of 0800-0830 for proper
                   treatment to have likely provided a better outcome for this stroke
                   patient.

(Doc. 61, ¶¶ 60-64). The first time claims numbered 60 (b) – (d) and 61 – 64 appeared are in the

Amended Complaint. Further, at paragraph 78 of the Amended Complaint, Plaintiffs state that

they did not and are not required to file a certificate of good faith with their Amended Complaint.

Id. at ¶ 78.

                                  II. ARGUMENT AND AUTHORITY:

           A.      Standard for granting a Rule 12(b)(6) Motion to Dismiss and applicability of
                   Tennessee substantive law regarding health care liability actions:

           Following Twombly2 and Iqbal,3 the requirement of Rule 8(a)(2) of Federal Rules of Civil

Procedure that the complaint contain a short and plain statement that the pleader is entitled to

relief now imposes legal and factual demands on the drafters of the complaints filed in the

federal court system. 16630 Southfield Ltd. P'ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 503

(6th Cir. 2013). Now, "to survive a motion to dismiss, the plaintiff must allege facts that, if

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         Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).
     3
         Ashcroft v. Iqbal, 556 U.S. 662 (2009).


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accepted as true, are sufficient to raise a right to relief above the speculative level, and to state a

claim to relief that is plausible on its face." Hensley Mfg. v. ProPride, Inc., 579 F.3d 603, 609

(6th Cir. 2009) (citations and internal quotations omitted). Even though courts are to "accept all

well-pleaded factual allegations in the complaint as true," courts do not "accept as true a legal

conclusion couched as a factual allegation." Hensley Mfg., 579 F.3d at 609 (citations omitted).

       Further, when exercising jurisdiction pursuant to diversity, a federal court must apply the

substantive law, including choice of law rules, of the state in which it sits. Andersons, Inc. v.

Consol, Inc., 348 F.3d 496, 501 (6th Cir. 2003) (citing Klaxon Co. v. Stentor Elec. Mfg. Co., 313

U.S. 487, 496 (1941)); see also Standard Fire Ins. Co. v. Ford Motor Co., 723 F.3d 690, 692

(6th Cir. 2013). Regarding torts, "Tennessee follows the most significant relationship rule,

which provides that the law of the state where the injury occurred will be applied unless some

other state has a more significant relationship to the litigation." Miller v. Uchendu, No. 2:13-

CV-02149-JPM, 2013 WL 4097340, at *2 (W.D. Tenn. Aug. 13, 2013) (citations omitted)

(internal quotation marks omitted); see also Menuskin v. Williams, 145 F.3d 755, 761 (6th Cir.

1998) (applying Tennessee law to transactions wholly connected with Tennessee).

       In the present case, because the Court is exercising jurisdiction pursuant to diversity, the

alleged injuries took place in Tennessee, and no other state has a more significant relationship to

the litigation, Tennessee law supplies the substantive law in the present case. Accordingly, the

THCLA will apply to the present lawsuit filed by the Plaintiffs. See Miller, 2013 WL 4097340,

at *2 (applying the THCLA to the claims before the court). Even though Plaintiffs' Amended

Complaint contains an averment that Plaintiffs are not required by Tennessee law to file a

certificate of good faith with their Amended Complaint, this is a legal conclusion couched as a

factual allegation, which the Court is not required to accept as true. Hensley Mfg., 579 F.3d at




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609. For the reasons contained herein, Tennessee law does require a certificate of good faith to

be filed with each complaint. Absent filing this certificate of good faith, dismissal with prejudice

is appropriate. See Tenn. Code Ann. § 29-26-122. Therefore, Plaintiffs' Amended Complaint is

not plausible on its face, it does not state a claim upon which relief can be granted, and the

claims must be dismissed with prejudice.

         B.       Plaintiffs’ non-compliance with the certificate of good faith
                  requirement of Tennessee Health Care Liability Act (“THCLA”),
                  codified at Tenn. Code. Ann. § 29-26-122, requires the Court dismiss
                  the Plaintiffs’ Amended Complaint with prejudice pursuant to Rule
                  12(b)(6) of the Federal Rules of Civil Procedure.

                         1.       Tenn. Code Ann. § 29-26-122 does not distinguish between a
                                  complaint and an amended complaint.

         Absent the “common knowledge exception,”4 the THCLA mandates that plaintiffs file a

certificate of good faith to certify that they consulted with at least one (1) expert who “provided a

signed written statement” that: (1) he or she is competent pursuant to Tenn. Code Ann. § 29-26-

1155 to offer an expert opinion, (2) has reviewed the medical records at issue,6 and (3) believes

there is a “good faith basis to maintain the action consistent” with the elements that the plaintiff

has the burden to prove. Tenn. Code Ann. § 29-26-122. Further, as to filing of the certificate of

good faith and consequences for not filing, in relevant parts, the THCLA states:



     4
        The “common knowledge exception” is an exception to the requirement of expert proof to establish a claim
of negligence against a health care provider. See Osunde v. Delta Med. Ctr., 505 S.W.3d 875, 886 (Tenn. Ct. App.
2016). In other words, “expert testimony is not required where the act of alleged wrongful conduct lies within the
common knowledge of a layperson.” Id. This exception is not implicated in the present case, wherein the
allegations concern whether or not it was medically indicated to administer a potentially deadly drug to one of the
Plaintiffs. See Tenn. Code Ann. § 29-26-101 (defining “health care liability actions” as “any civil action . . .
alleging that a health care provider or providers have caused an injury related to the provision of, or failure to
provide, health care services to a person, regardless of the theory of liability on which the action is based.”).
      5
        This statute outlines the expert qualifications and burden of proof for a Tennessee health care liability action.
The expert must be capable of establishing all three (3) elements the plaintiff has the burden of providing.
      6
        In very limited circumstances, when a defendant does not timely release the medical records this requirement
may be excused by a court. See Tenn. Code Ann. § 29-26-122(a)(2)(B). This is not implicated in the present case,
nor does the certificate of good faith filed with the original complaint indicate that this exception is applicable.


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                  [T]he plaintiff or plaintiff's counsel shall file a certificate of good
                  faith with the complaint. If the certificate is not filed with the
                  complaint, the complaint shall be dismissed, as provided in
                  subsection (c), absent a showing that the failure was due to the
                  failure of the provider to timely provide copies of the claimant's
                  records requested as provided in § 29-26-121 or demonstrated
                  extraordinary cause.

                                                       ***

                  (c) The failure of a plaintiff to file a certificate of good faith in
                  compliance with this section shall, upon motion, make the action
                  subject to dismissal with prejudice.

Tenn. Code Ann. § 29-26-122 (emphasis added).

         The Tennessee Supreme Court held that compliance with the certificate of good faith

requirement is mandatory and strict compliance is required. Myers v. AMISUB (SFH), Inc., 382

S.W.3d 300, 309-10 (Tenn. 2012); see also Sirbaugh v. Vanderbilt Univ., 469 S.W.3d 46, 51

(Tenn. Ct. App. 2014) ("Our Supreme Court in Myers has opined that the filing of a certificate of

good faith with a complaint is mandatory, and strict compliance is required."). In reaching this

holding, the court construed the legislative intent behind the use of the word "shall" and noted

that rules of statutory interpretation7 presume that the "legislature intended that each word be

given full effect." Myers, 382 S.W.3d at 308 (citations omitted). To give full weight to this

presumption, the inverse must be true as well – the legislature’s choice not to include a word

must also be given full effect. Particularly, as is the case here, the absence of a modifier to the

word "complaint" must be given full effect as it indicates that the legislature did not intend to

distinguish between complaints.             Absent any modifiers, the statutory requirement that a



     7
      Additional rules of statutory interpretation turn on whether or not the statutory language is ambiguous or not.
When the language is unambiguous, a court reads the language pursuant to its "plain meaning and ordinary usage."
Stevens ex rel. Stevens v. Hickman Cmty. Health Care Servs., Inc., 418 S.W.3d 547, 553 (Tenn. 2013). Whereas,
ambiguous language permits the court to "consider the overall statutory scheme, the legislative history, and other
sources." Id.


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certificate of good faith be filed with the complaint encompasses all complaints, including

amended complaints.

                2.       Amended complaints that change the claims of liability or that
                         allege new or facts requires a new certificate of good faith.

        Further, no statutory interpretation is required because Tennessee courts have already

recognized that an amended complaint requires a new certificate of good faith. See Sirbaugh,

469 S.W.3d at 52; Groves v. Colburn, No. M2012-01834-COA-R3CV, 2013 WL 3964758, at *4

(Tenn. Ct. App. July 30, 2013).8 More specifically, as is the situation in the present case, when

"the allegations changed to claim . . . liability based on different facts, a new certificate based

upon the expert's review of newly alleged facts was necessary." Sirbaugh, 469 S.W.3d at 53

(quoting Groves, 2013 WL 3964758, at *4); see also Ramirez v. Roberts, No. 15C336 (Tenn.

Cir. Ct. Hamilton County) (trial court order barring new claims of liability in an amended

complaint when not accompanied by a new certificate of good faith).9 Although the Sirbaugh

and Groves cases involved a plaintiff filing an amended complaint to add a new defendant, the

courts' language regarding alleging new facts or changing the claims of liability is directly

applicable to the instant case. Likewise, in Ramirez v. Roberts, the court held the Groves and

Sirbaugh cases require a certificate of good faith when an amended complaint alleges new facts

and a new cause of action.10 Taken together, the three (3) cases establish that a new certificate of

good faith is required when either new claims of liability are alleged or new facts are alleged.




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      A copy of these cases are attached hereto as Collective Exhibit 1.
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      A copy is attached hereto as Exhibit 2.
    10
       Exh. 2, ¶ 5.


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                              i. The new factual allegations in the Plaintiffs' Amended Complaint
                              requires a new certificate of good faith to be filed contemporaneously.

             The essence of the certificate of good faith is to provide assurances that there is a good

faith basis for filing the complaint. Myers, 382 S.W.3d at 309. When the alleged facts change,

the foundation for the expert's opinion is gone. As a result, the certificate of good faith filed with

the original complaint no longer has any support, and a new certificate of good faith is required.

             Here, Plaintiffs have completely pled a different set of facts11 that are not supported by a

certificate of good faith. For example, the Original Complaint indicates that when Mr. Ruffino

presented to the Emergency Room at Stonecrest medical center, he was suffering from (1)

weakness, including to his face, (2) slurred speech, and (3) dizziness. (Doc. 1, ¶ 19). Each of

these conditions was alleged to be a neurological deficiency. (Doc. 1, ¶¶ 20-23). Mr. Ruffino

allegedly continued to complain of dizziness throughout his presentation to the ER of Stonecrest,

and he demonstrated abnormal speech during the presentation. (Doc. 1, ¶¶ 25 – 28). By 1015 on

the morning of presentation, "Mr. Ruffino suffered dizziness for more than 90 minutes." (Id. at ¶

36).        In contrast, in the Amended Complaint, Plaintiffs now allege that Mr. Ruffino was

neurologically normal from 0949 – 1200. (Doc. 61, ¶ 19). Likewise, the Amended Complaint

contains allegations that neurological checks were performed at 1000, 1015, 1030, 1045, 1110,

and 1200, and Mr. Ruffino was neurologically normal. (Doc. 61, ¶ 22). As these brief examples

demonstrate, the facts alleged in the Amended Complaint are completely different from the

Original Complaint.            As Plaintiffs alleged new facts in their Amended Complaint, a new

certificate of good faith was required to certify that an expert believed there was a good faith

basis to bring claims based on these facts.




       11
            Compare Doc. 1, ¶¶ 19 – 92, with Doc. 61, ¶¶ 18 – 56.


                                                           9
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                         ii. The new claims of liability in the Plaintiffs Amended Complaint
                         requires a new certificate of good faith.

          Likewise, Plaintiffs have alleged new claims of liability.12 The Amended Complaint, for

the first time, now alleges the following new claims of liability:

                 60. The ways in which Dr. Archer failed to comply with the
                 applicable standard of recognized acceptable professional practice
                 (“standard of care”) include, but are not limited to:
                                                   ***
                     b. Not timely ordering the administration of tPA for Mr.
                     Ruffino for his thrombotic stroke on February 17, 2016;
                     c. Not timely arranging for a transfer to a comprehensive stroke
                     center, including so that a endovascular thrombectomy could
                     be performed on Mr. Ruffino for his thrombotic stroke on
                     February 17, 2016;
                     d. Failing to communicate significant information about the
                     presentation and progression of Mr. Ruffino’s neurological
                     condition to the consulting neurologist, Dr. Chitturi.
                                                   ***
                 61. When Dr. Archer identified Mr. Ruffino’s new neurological
                 deficits at or soon after 1220, and knew by 1300 that these
                 neurological deficits were not present from 1000-1200 and the
                 patient was last seen neurologically normal as recently as 1200, it
                 was within the window of time at 1220-1300 for treatment for the
                 stroke including IV tPA and endovascular thrombectomy to have
                 likely provided Mr. Ruffino with a better outcome than he received
                 without that treatment being provided.
                 62. Such treatment would have improved the blood flow through
                 the vessel that was experiencing a decreased amount of blood flow
                 and thus causing the stroke. The treatment that could have been
                 provided by Dr. Archer and/or under his direction and/or
                 management was to administer IV tPA and to arrange for transfer
                 to a comprehensive stroke center.
                 63. Had Dr. Archer initiated administration of IV tPA and arranged
                 for transfer to a comprehensive stroke center for appropriate
                 treatment, including endovascular thrombectomy, within at least 6-
                 8 hours of Dr. Archer first seeing the patient at approximately
                 1220, Mr. Ruffino would have had a better outcome from his
                 stroke. That improved blood flow via such treatment being
                 provided within 6-8 hours of 1200 would have limited or prevented
                 the permanent brain injury that occurred as a result of the lack of
                 such treatment causing that decreased blood flow through that

     12
         Compare Doc. 61, ¶¶ 60 – 64, with Doc. 1, ¶¶ 95 – 96. The Amended Complaint adds additional causes of
liability against Dr. Archer.


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                   vessel of the brain – thus providing a better outcome for the
                   patient.
                   64. In addition, even if there were new stroke symptoms present at
                   approximately 0800-0830 on February 17, 2016 that anyone
                   thought were persistent and continuous through when Dr. Archer
                   first saw the patient and recognized neurological deficits by 1220-
                   1300, it was still within 6-8 hours of 0800-0830 for proper
                   treatment to have likely provided a better outcome for this stroke
                   patient.13

The above noted allegations are completely new claims of liability asserted against Dr. Archer

that are asserted for the first time in Plaintiffs' Amended Complaint. These new claims of

liability concern the care and treatment rendered to Mr. Ruffino, and as such, they require a new

certificate of good faith. Yet, there is no certificate of good faith to support bringing these new

claims. Therefore, Plaintiffs' Amended Complaint should be dismissed with prejudice.

                   3.       The procedural effect of an amended complaint is analogous to a re-
                            filed complaint such that they require a certificate of good faith.

          Additionally, requiring a certificate of good faith be filed contemporaneously with an

amended complaint that alleges new claims of liability or newly alleged facts is consistent with

the holding in Myers given the procedurally similar effects of an amended complaint and a

complaint that is re-filed after voluntary non-suiting the case. An amended complaint generally

supersedes the original pleading such that the original complaint no longer has any legal effect.

Hayward v. Cleveland Clinic Found., 759 F.3d 601, 617 (6th Cir. 2014) (citing Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure § 1476 (3d ed. 2010); Shreve v.

Franklin Cty., Ohio, 743 F.3d 126, 131 (6th Cir. 2014) (citing 61B Am. Jur. 2d Pleading § 789

(“An amended pleading that is complete in itself and does not refer to or adopt a former pleading

as a part of it supersedes or supplants the former pleading.”)); see also Stephens v. Home Depot

U.S.A., Inc., 529 S.W.3d 63, 70 n.4 (Tenn. Ct. App. 2016), appeal denied (Apr. 13, 2017)


    13
         Doc. 61, ¶¶ 62 – 64.


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(clarifying that under the Tennessee Rules of Civil Procedure, an amended complaint is one that

is complete in itself without adoption or reference to the original complaint and that it supersedes

the original complaint, whereas an amendment to a complaint only modifies the existing original

complaint such that the original complaint still remains in effect).14 Similarly, when a party files

a voluntary non-suit, then re-files the case, the original lawsuit has no legal effect. This is

demonstrated in Myers, wherein the Tennessee Supreme Court held:

                  [A]fter [plaintiff's] original action terminated, he could not rely
                  on statements made by experts relative to that action as a
                  substitute for a certificate of good faith filed with his new
                  action because the statute provides that “[i]f the certificate is not
                  filed with the complaint, the complaint shall be dismissed."
                  Tenn.Code Ann. § 29–26–122(a). The statements upon which
                  [plaintiff] seeks to rely were not filed with his new complaint.

Myers, 382 S.W.3d at 310. Because the original complaint no longer has any legal effect after

the subsequent complaint is filed, the subsequent complaint – regardless of whether it is an

amended complaint or complaint filed after a voluntary nonsuit – must have a certificate of good

faith to support the claims and or facts contained within it. Otherwise, a plaintiff has not

certified that an expert believes there is a good faith basis for the claims pled upon the facts

alleged in the subsequent complaint.               Absent the filing of the certificate of good faith, a

plaintiff's complaint is to be dismissed with prejudice unless plaintiff can demonstrate that an

exception15 applies. Tenn. Code Ann. § 29-26-122.




     14
         See ¶ 78 of the Amended Complaint ("no additional certificate is required for an amended complaint . . .
[that] does not add new Defendants"). This language demonstrates the amended complaint is complete and does not
incorporated by reference or adopt the prior certificate of good faith. As a result, Rule 10(c) of Federal Rules of
Civil Procedure does not operate to incorporate the original certificate of good faith.
      15
         Plaintiffs already have the medical records so they cannot rely on the exception related to issues obtaining
the medical records. See TENN. CODE ANN. § 29-26-122(a); see also Doc. 1, Exh. 2 (certifying a good faith basis
after a review of the medial records). Further, the choice not to comply with the filing of the certificate of good faith
requirement cannot be "extraordinary cause." See TENN. CODE ANN. § 29-26-122(a).


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       Here, given the procedurally similar effects of Plaintiffs' Amended Complaint to a re-

filed complaint (i.e., the legal nullity of a preceding complaint), Plaintiffs were required to file a

new certificate of good faith, which they failed to do.          No exception applies. Therefore,

Plaintiffs' Amended Complaint is to be dismissed with prejudice.

                                       III. CONCLUSION

       In conclusion, Tenn. Code Ann. § 29-26-122 requires strict compliance and does not

distinguish between amended and original complaints. Tennessee courts have held that an

amended complaint is subject to the certificate of good faith requirement and dismissed a

plaintiff's claims when no certificate of good faith was attached at the time of filing. For these

and the foregoing reasons, dismissal of the Plaintiffs' Amended Complaint with prejudice is

appropriate.

       Respectfully submitted on this 23rd day of April 2018.

                                               HALL BOOTH SMITH, P.C.

                                       By:     /S/ Bryant Witt
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                                               Bryant C. Witt BPR #018295
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                                CERTIFICATE OF SERVICE

               I hereby certify that: I have this 23rd day of April 2018, served all parties in this
matter with the foregoing DEFENDANT DR. CLARK ARCHER'S MEMORANDUM IN
SUPPORT OF MOTION TO DISMISS THE AMENDED COMPLAINT by CM/ECF, to
counsel of record as follows:

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                                                      HALL BOOTH SMITH

                                              By:     /S/ Bryant Witt




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